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States Bankruptcy Court for the Southern District of Ohio.

IT IS SO ORDERED.




Dated: September 02, 2011


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                            UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION


 In Re                                             :
                                                   :
 MI 2009 INC., ET AL.                              :      Case No. 09-11235
                                                   :      Chapter 11
                                                   :      Judge Hopkins
                  Debtors1                         :


 ORDER DENYING MOTION REQUESTING FURTHER RELIEF FROM AUTOMATIC
  STAY OF CREDITOR GOSLING CZUBAK ENGINEERING SCIENCES, INC. AND
      CONTINUING THE STAY UNTIL FURTHER ORDER BY THIS COURT

         This matter came on for hearing before this Court on the Motion (the “Motion”) of

creditor Gosling Czubak Engineering Sciences, Inc. (“Gosling”) renewing its request for

further relief from stay [Doc. No. 976]. Counsel for Gosling did not present any

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           The Debtors in these chapter 11 cases, along with the last four digits of each debtor's
         federal tax identification number, are: MI 2009 Inc. (f/k/a Milacron Inc.) (2125); CIP 2009
         Inc. (f/k/a Cimcool Industrial Products, Inc.) (1002); MMC 2009 Inc. (f/k/a Milacron
         Marketing Company) (0580); MPTG 2009 Inc., (f/k/a Milacron Plastics Technology Group)
         (1007); EMD 2009 Inc. (f/k/a D-M-E Company Inc.) (3086); 1787230 Ontario Limited (f/k/a
         Milacron Canada Limited) (7230); and MCH 2009 B.V. (f/k/a Milacron Capital Holdings
         B.V.) (7203). The corporate headquarters address of these Debtors is: 4165 Half Acre
         Road, Batavia, Ohio 45103.
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witnesses or offer any evidence stating the value of the property or whether the creditor

lacked adequate protection. The Court having considered all the facts of record and

relevant pleadings of the parties, including the objection of creditor Michigan Department

of Natural Resources and Environment (“DNRE”) thereto [Doc. No. 980], and having heard

from Counsel for Gosling, Trustee George Leicht (the “Trustee”), Counsel for Trustee, and

Counsel for DNRE at the hearing held on August 30, 2011; and finding sufficient notice was

given under the circumstances, finds that termination of the stay, at the present time, is not

appropriate;

NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

         1. The Motion is DENIED, without prejudice and CONDITIONED, as follows.

         2. In the event that the sale of the property which is the subject of the motion

(Doc.1097) filed by the trustee does not occur, then this Court may, upon the filing of a

certification by Gosling's counsel with the Court evidencing these facts, issue an order

terminating the stay without further notice or hearing.

         3. This Court shall retain jurisdiction over any and all matters arising from or related

to the interpretation or implementation of this Order.

         4. The automatic stay will continue in force and effect until further order by this

Court.



IT IS SO ORDERED.




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